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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                        PR No. 20-pr-302
 ORDER FOR FOURT CELLULAR
 TELEPHONES SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                         Filed Under Seal
 U.S.C. 2339B

Reference: USAO Ref. #                   Subject Phone Number(s):

                                     FIRST APPLICATION

       The United States of America, moving by and through Assistant United States Attorney

Tejpal Chawla, its undersigned counsel, respectfully submits under seal this ex parte application

for an order pursuant to 18 U.S.0 §§ 3122 and 3123, authorizing the installation and use of pen

register and trap and trace devices ("pen-trap devices") to T-Mobile to record, decode, and/or

capture dialing, routing, addressing, and signaling information associated with each

communication to or from cellular telephone number and suspected users:

                     (hereinafter "Subject Phone Numbers"), who are the subjects of the

investigation as discussed below. In support of this application, the United States asserts:

       1.      This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3 123 authorizing the installation and use of pen-trap devices.

       2.      Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a

certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency." 18 U.S.C. § 3122(b).

       3.      The undersigned applicant is an "attorney for the Government" as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.
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       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (hereinafter “Agency”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                          JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, the criminal offenses

under investigation began or were committed upon the high seas, or elsewhere out of the

jurisdiction of any particular State or district. See 18 U.S.C. § 3238. The statutes setting forth the

federal offenses under investigation, namely 18 U.S.C. § 2339B, apply extraterritorially.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).

       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or

electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the



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originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address. Based on the

IP address used for a given online transaction, law enforcement may be able to determine the

geographical location of the Internet connection used in the transaction.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is

commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique



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identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication.       Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.

       14.     A cellular telephone, or cell phone, is a mobile device that transmits and receives

wire and electronic communications. Individuals using cell phones contract with cellular service

providers, who maintain antenna towers covering specific geographic areas. In order to transmit

or receive calls and data, a cell phone must send a radio signal to an antenna tower that, in turn, is

connected to a cellular service provider’s network.



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       15.     In addition to a unique telephone number, each cell phone has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cell phone could take several different forms, including an Electronic Serial

Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile Identification

Number (“MIN”), a Subscriber Identity Module (“SIM”), an International Mobile Subscriber

Identifier (“IMSI”), a Mobile Subscriber Integrated Services Digital Network Number

(“MSISDN”), or an International Mobile Station Equipment Identity (“IMEI”). When a cell phone

connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the cellular

antenna or tower, and the cellular antenna or tower records those identifiers as a matter of course.

The unique identifiers—as transmitted from a cell phone to a cellular antenna or tower—are like

the telephone number of an incoming call. They can be recorded by pen-trap devices and indicate

the identity of the cell phone device making the communication without revealing the

communication’s content.

       16.     In addition, a list of incoming and outgoing telephone numbers is generated when

a cell phone is used to make or receive calls, or to send or receive text messages (which may

include photographs, videos, and other data). These telephone numbers can be recorded by pen-

trap devices and then used to identify the parties to a communication without revealing the

communication’s contents.

       17.     A cell phone can also be used to exchange text messages with email accounts. The

email addresses associated with those text messages can be recorded by pen-trap devices and then

used to identify parties to a communication without revealing the communication’s contents.

       18.     Cell phones can connect to the Internet via the cellular network. When connecting

through the cellular network, Internet communications sent and received by the cell phone each



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contain the same unique identifier that identifies cellular voice communications, such as an ESN,

MEIN, MIN, SIM, IMSI, MSISDN, or IMEL Internet communications from a cell phone also

contain the IP address associated with that cell phone at the time of the communication. Each of

these unique identifiers can be used to identify parties to a communication without revealing the

communication's contents.

                                     THE RELEVANT FACTS

       19.       The United States government, including the Agency, is investigating aterial

support for foreign terrorist organizations. The investigation concerns possible violations of, inter

alia, 18 U.S.C. § 2339B. The subjects of the investigation are believed to be providing, or

attempting to provide, material support to the                                         also known as

      a designated foreign terrorist organization that is based outside the United States.

media arm has repeatedly produced propaganda videos, posted online, that urgenupporters to

commit attacks in Washington, D.C. and other U.S. cities.

       20.       The conduct being investigated involves use of the Subject Phone Numbers. To

further the investigation, investigators need to obtain the dialing, routing, addressing, and signaling

information associated with communications sent to or from the Subject Phone Numbers.

       21.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each communication to or

from the Subject Phone Numbers, including the date, time, and duration of the communication,

and the following, without geographic limit:

             ■   IP addresses associated with the cell phone device or devices used to send or receive
                 electronic communications;

             ■   Any unique identifiers associated with the cell phone device or devices used to
                 make and receive calls with the Subject Phone Number, or to send or receive other



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                 electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
                 MSISDN, or MIN;

                IP addresses of any websites or other servers to which the cell phone device or
                 devices is/are connected; and

                Source and destination telephone numbers and email addresses.

                                    GOVERNMENT REQUESTS

       22.       For the reasons stated above, the United States requests that the Court enter an

Order authoizing the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each communication

to or from the Subject Phone Numbers, including the date, time, and duration of the

communication, without geographic limit. The United States does not request and does not seek

to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       23.       The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       24.       The United States further requests that the Court order, pursuant to 18 U.S.C.

§§ 3123(b)(2) and 3124(a)-(b), that T-Mobile (hereinafter “Service Provider”) and any other

person or entity providing wire or electronic communication service in the United States whose

assistance may facilitate execution of the Order, furnish the Agency forthwith all information,

facilities, and technical assistance necessary to install the pen-trap devices, including installation

and operation of the pen-trap devices unobtrusively and with minimum disruption of normal

service. Any entity providing such assistance shall be reasonably compensated by the Agency,

pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities and

assistance in furtherance of the Order.



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       25.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the Subject Phone Numbers, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the Subject Phone Number.

       26.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       27.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as

persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service



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providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       28.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, unless and until authorized by this

Court, except that the Service Provider may disclose the Order to an attorney for the Service

Provider for the purpose of receiving legal advice.

       29.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       30.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       31.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.




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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on the ____ day of November, 2020.

                                          Respectfully submitted,

                                          Michael R. Sherwin
                                          Acting United States Attorney
                                          N.Y. Bar No. 4444188


                                          __/s/ Tejpal. S. Chawla________________
                                          Tejpal S. Chawla
                                          Assistant United States Attorney
                                          D.C. Bar Number 464012
                                          National Security Section
                                          555 4th Street, N.W.
                                          Washington, DC 20530
                                          202-252-7280
                                          tejpal.chawla@usdoj.gov




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                         PR No. 20-pr-302
 ORDER FOR FOUR CELLULAR
 TELEPHONES SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                          Filed Under Seal
 U.S.C. 2339B

                                               ORDER

       Assistant United States Attorney Tejpal Chawla, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on cellular telephone number                  (hereinafter "Subject Phone Number"), and

believed to be used by one or more persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, in connection with possible violations of 18 U.S.C. § 2339B. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A, and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each communication to or from the Subject
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Phone Number, including the date, time, and duration of the communication, and the following,

without geographic limit:

              IP addresses associated with the cell phone device or devices used to send or receive
               electronic communications;

              Any unique identifiers associated with the cell phone device or devices used to
               make and receive calls with the Subject Phone Number, or to send or receive other
               electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
               MSISDN, or MIN;

              IP addresses of any websites or other servers to which the cell phone device or
               devices is/are connected; and

              Source and destination telephone numbers and email addresses.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

T-Mobile (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

       IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

       IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;


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         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the Subject Phone Numbers, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the Subject

Phone Number;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;

         IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

         IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



                                              __________________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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                                    ATTACHMENT A


Suspected Users of Accounts:

 User                      Number or identifier




Subjects of the Investigation
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                         PR No. 20-pr-302
 ORDER FOR FOUR CELLULAR
 TELEPHONES SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                          Filed Under Seal
 U.S.C. 2339B

                                               ORDER

       Assistant United States Attorney Tejpal Chawla, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on cellular telephone numbe                    hereinafter "Subject Phone Number"), and

believed to be used by one or more persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, in connection with possible violations of 18 U.S.C. § 2339B. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A, and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each communication to or from the Subject
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Phone Number, including the date, time, and duration of the communication, and the following,

without geographic limit:

              IP addresses associated with the cell phone device or devices used to send or receive
               electronic communications;

              Any unique identifiers associated with the cell phone device or devices used to
               make and receive calls with the Subject Phone Number, or to send or receive other
               electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
               MSISDN, or MIN;

              IP addresses of any websites or other servers to which the cell phone device or
               devices is/are connected; and

              Source and destination telephone numbers and email addresses.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

T-Mobile (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

       IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

       IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;


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         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the Subject Phone Numbers, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the Subject

Phone Number;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;

         IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

         IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                              UNITED STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A


Suspected Users of Accounts:

 User                       Number or identifier




Sub' ects of the Investigation
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                                 UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                                   PR No. 20-pr-302
 ORDER FOR ONE CELLULAR TELEPHONE
 SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                                    Filed Under Seal
 U.S.C. 2339B

Reference: USAO Ref. 14                          Subject Phone Number(s):

                                   AMENDED FIRST APPLICATION'

         The United States of America, moving by and through Assistant United States Attorney

Tejpal Chawla, its undersigned counsel, respectfully submits under seal this ex parte application

for an order pursuant to 18 U.S.0 §§ 3122 and 3123, authorizing the installation and use of pen

register and trap and trace devices ("pen-trap devices") to T-Mobile to record, decode, and/or

capture dialing, routing, addressing, and signaling information associated with each

communication to or from cellular telephone number and suspected users:

                         (hereinafter "Subject Phone Numbers"), who are the subjects of the

investigation as discussed below. In support of this application, the United States asserts:

         1.       This is an application, made under 18 U.S.C. § 3122(a)(1), for an order under 18

U.S.C. § 3123 authorizing the installation and use of pen-trap devices.

         2.       Such an application must include three elements: (1) "the identity of the attorney

for the Government or the State law enforcement or investigative officer making the application";

(2) "the identity of the law enforcement agency conducting the investigation"; and (3) "a

certification by the applicant that the information likely to be obtained is relevant to an ongoing

criminal investigation being conducted by that agency." 18 U.S.C. § 3122(b).


1 In the previous application the government had the wrong caption that stated four accounts, therefore the
government is submitting an amended application with the correct caption.
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       3.      The undersigned applicant is an “attorney for the Government” as defined in Rule

1(b)(1) of the Federal Rules of Criminal Procedure.

       4.      The law enforcement agency conducting the investigation is the Federal Bureau of

Investigation (hereinafter “Agency”).

       5.      The applicant hereby certifies that the information likely to be obtained by the

requested pen-trap devices is relevant to an ongoing criminal investigation being conducted by the

Agency.

                                          JURISDICTION

       6.      This Court has jurisdiction to issue the requested Order because it is a “court of

competent jurisdiction” as defined by 18 U.S.C. § 3127. 18 U.S.C. § 3122(a)(1). Specifically, the

Court is a “district court of the United States . . . that – has jurisdiction over the offense being

investigated.” 18 U.S.C. § 3127(2)(A)(i). As discussed more fully below, the criminal offenses

under investigation began or were committed upon the high seas, or elsewhere out of the

jurisdiction of any particular State or district. See 18 U.S.C. § 3238. The statutes setting forth the

federal offenses under investigation, namely 18 U.S.C. § 2339B, apply extraterritorially.

                                 ADDITIONAL INFORMATION

       7.      Other than the three elements described above, federal law does not require that an

application for an order authorizing or extending authorization for the installation and use of pen-

trap devices specify any facts. The following additional information is provided to demonstrate

that the order requested falls within this Court’s authority to authorize or extend authorization for

the installation and use of pen-trap devices under 18 U.S.C. § 3123(a)(1).

       8.      A “pen register” is “a device or process which records or decodes dialing, routing,

addressing, or signaling information transmitted by an instrument or facility from which a wire or



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electronic communication is transmitted.” 18 U.S.C. § 3127(3). A “trap and trace device” is “a

device or process which captures the incoming electronic or other impulses which identify the

originating number or other dialing, routing, addressing, and signaling information reasonably

likely to identify the source of a wire or electronic communication.” 18 U.S.C. § 3127(4).

       9.      In the traditional telephone context, pen register devices captured the destination

phone numbers of outgoing calls, while trap and trace devices captured the phone numbers of

incoming calls. Similar principles apply to other kinds of wire and electronic communications, as

described below.

       10.     The Internet is a global network of computers and other devices. Devices directly

connected to the Internet are identified by a unique number called an Internet Protocol, or “IP”

address. This number is used to route information between devices. Generally, when one device

requests information from a second device, the requesting device specifies its own IP address so

that the responding device knows where to send its response. An IP address is analogous to a

telephone number and can be recorded by pen-trap devices, and it indicates the online identity of

the communicating device without revealing the communication’s content. There are two types

of IP addresses: dynamic and static. A static IP address is one that is permanently assigned to a

given computer on a network. With dynamic IP addressing, however, each time a computer

establishes an Internet connection, that computer is assigned a different IP address. Based on the

IP address used for a given online transaction, law enforcement may be able to determine the

geographical location of the Internet connection used in the transaction.

       11.     A network is two or more computers or other devices connected to each other that

can exchange information with each other via some transmission method, such as by wires, cables,

or radio waves. The equipment that connects a computer or other device to the network is



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commonly referred to as a network adapter. Most network adapters have a Media Access Control

(“MAC”) address assigned by the manufacturer of the adapter that is designed to be a unique

identifying number.      An adapter’s unique MAC address allows for proper routing of

communications on a local area network and may be used for other purposes, such as

authentication of customers by some network service providers. Unlike a device’s IP address that

often changes each time a device connects to the Internet, a MAC address is fixed at the time of

manufacture of the adapter. Because the address does not change and is intended to be unique, a

MAC address can allow law enforcement to identify whether communications sent or received at

different times are associated with the same adapter.

       12.     On the Internet, data transferred between devices is not sent as a continuous stream,

but rather it is split into discrete packets. Generally, a single communication is sent as a series of

packets. When the packets reach their destination, the receiving device reassembles them into the

complete communication.       Each packet has two parts: a header with routing and control

information, and a payload, which generally contains user data. The header contains non-content

information such as the packet’s source and destination IP addresses and the packet’s size.

       13.     In addition, different Internet applications are associated with different “port

numbers,” or numeric identifiers. The port number is transmitted along with any communication

using that application. For example, port 80 typically is associated with communications involving

the World Wide Web. Port numbers are also used by many wireless carriers as a method for

identifying a particular device on the wireless carrier’s network.

       14.     A cellular telephone, or cell phone, is a mobile device that transmits and receives

wire and electronic communications. Individuals using cell phones contract with cellular service

providers, who maintain antenna towers covering specific geographic areas. In order to transmit



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or receive calls and data, a cell phone must send a radio signal to an antenna tower that, in turn, is

connected to a cellular service provider’s network.

       15.     In addition to a unique telephone number, each cell phone has one or more unique

identifiers embedded inside it. Depending upon the cellular network and the device, the embedded

unique identifiers for a cell phone could take several different forms, including an Electronic Serial

Number (“ESN”), a Mobile Electronic Identity Number (“MEIN”), a Mobile Identification

Number (“MIN”), a Subscriber Identity Module (“SIM”), an International Mobile Subscriber

Identifier (“IMSI”), a Mobile Subscriber Integrated Services Digital Network Number

(“MSISDN”), or an International Mobile Station Equipment Identity (“IMEI”). When a cell phone

connects to a cellular antenna or tower, it reveals its embedded unique identifiers to the cellular

antenna or tower, and the cellular antenna or tower records those identifiers as a matter of course.

The unique identifiers—as transmitted from a cell phone to a cellular antenna or tower—are like

the telephone number of an incoming call. They can be recorded by pen-trap devices and indicate

the identity of the cell phone device making the communication without revealing the

communication’s content.

       16.     In addition, a list of incoming and outgoing telephone numbers is generated when

a cell phone is used to make or receive calls, or to send or receive text messages (which may

include photographs, videos, and other data). These telephone numbers can be recorded by pen-

trap devices and then used to identify the parties to a communication without revealing the

communication’s contents.

       17.     A cell phone can also be used to exchange text messages with email accounts. The

email addresses associated with those text messages can be recorded by pen-trap devices and then

used to identify parties to a communication without revealing the communication’s contents.



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       18.       Cell phones can connect to the Internet via the cellular network. When connecting

through the cellular network, Internet communications sent and received by the cell phone each

contain the same unique identifier that identifies cellular voice communications, such as an ESN,

MEIN, MIN, SIM, IMSI, MSISDN, or IMEL Internet communications from a cell phone also

contain the IP address associated with that cell phone at the time of the communication. Each of

these unique identifiers can be used to identify parties to a communication without revealing the

communication's contents.

                                     THE RELEVANT FACTS

       19.       The United States government, including the Agency, is investigating aterial

support for foreign terrorist organizations. The investigation concerns possible violations of, inter

alia, 18 U.S.C. § 2339B. The subjects of the investigation are believed to be providing, or

attempting to provide, material support to th                                          also known as

      a designated foreign terrorist organization that is based outside the United States.

media arm has repeatedly produced propaganda videos, posted online, that urgenupporters to

commit attacks in Washington, D.C. and other U.S. cities.

       20.       The conduct being investigated involves use of the Subject Phone Numbers. To

further the investigation, investigators need to obtain the dialing, routing, addressing, and signaling

information associated with communications sent to or from the Subject Phone Numbers.

       21.       The pen-trap devices sought by this application will record, decode, and/or capture

dialing, routing, addressing, and signaling information associated with each communication to or

from the Subject Phone Numbers, including the date, time, and duration of the communication,

and the following, without geographic limit:

             ■   IP addresses associated with the cell phone device or devices used to send or receive
                 electronic communications;


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                Any unique identifiers associated with the cell phone device or devices used to
                 make and receive calls with the Subject Phone Number, or to send or receive other
                 electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
                 MSISDN, or MIN;

                IP addresses of any websites or other servers to which the cell phone device or
                 devices is/are connected; and

                Source and destination telephone numbers and email addresses.

                                    GOVERNMENT REQUESTS

       22.       For the reasons stated above, the United States requests that the Court enter an

Order authoizing the installation and use of pen-trap devices to record, decode, and/or capture the

dialing, routing, addressing, and signaling information described above for each communication

to or from the Subject Phone Numbers, including the date, time, and duration of the

communication, without geographic limit. The United States does not request and does not seek

to obtain the contents of any communications, as defined in 18 U.S.C. § 2510(8).

       23.       The United States further requests that the Court authorize the foregoing installation

and use for a period of sixty days from the date of the Court’s Order, pursuant to 18 U.S.C. §

3123(c)(1).

       24.       The United States further requests that the Court order, pursuant to 18 U.S.C.

§§ 3123(b)(2) and 3124(a)-(b), that T-Mobile (hereinafter “Service Provider”) and any other

person or entity providing wire or electronic communication service in the United States whose

assistance may facilitate execution of the Order, furnish the Agency forthwith all information,

facilities, and technical assistance necessary to install the pen-trap devices, including installation

and operation of the pen-trap devices unobtrusively and with minimum disruption of normal

service. Any entity providing such assistance shall be reasonably compensated by the Agency,




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pursuant to 18 U.S.C. § 3124(c), for reasonable expenses incurred in providing facilities and

assistance in furtherance of the Order.

       25.     The United States further requests that the Court order the Service Provider and any

other person or entity whose assistance may facilitate execution of this Order to notify the applicant

and the Agency of any changes relating to the Subject Phone Numbers, including changes to

subscriber information, and to provide prior notice to the applicant and the Agency before

terminating or changing service to the Subject Phone Number.

       26.     The United States further requests that the Court order that the Agency and the

applicant have access to the information collected by the pen-trap devices as soon as practicable,

twenty-four hours per day, or at such other times as may be acceptable to them, for the duration of

the Order.

       27.     The United States further requests that the Court order that Attachment A, which is

incorporated by reference in the proposed Order and which identifies the name(s) of the person(s)

under investigation, remain under seal and withheld from service upon the Service Provider. The

information in Attachment A is not needed by the Service Provider, and doing so will help

safeguard both the privacy interests of unindicted and uncharged individuals and the integrity of

the government’s ongoing investigation. As the Court is aware, persons identified by law

enforcement as “subjects” at the investigative stage of a case may ultimately never be indicted or

charged with any crimes. Yet providing the identities of such persons to commercial entities as

“subjects” needlessly exposes those persons to non-law-enforcement entities, and risks further

exposure should service providers become careless with such information or themselves have that

information breached or “hacked” by other parties. At the same time, exposing the identities of

persons considered “subjects” to service providers also puts investigations at risk, inasmuch as



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persons who become aware of their identification as “subjects” can flee and destroy evidence, etc.

To be sure, Section 3123(d) contemplates the sealing of the Court’s Order, and that service

providers will comply and keep the existence of the Order secret. But especially in the age of

“internet hacking,” it is unwise to impart identification information to third parties when that

information is simply not required by those third parties and its exposure risks needless harm.

       28.     The United States further requests, pursuant to 18 U.S.C. § 3123(d)(2), that the

Court order the Service Provider and any other person or entity whose assistance facilitates

execution of the Court’s Order, and their agents and employees, not to disclose in any manner,

directly or indirectly, by any action or inaction, the existence of this application and the Court’s

Order, the resulting pen-trap devices, or this investigation, unless and until authorized by this

Court, except that the Service Provider may disclose the Order to an attorney for the Service

Provider for the purpose of receiving legal advice.

       29.     The United States further requests that this application and any resulting Order be

sealed until otherwise ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

       30.     The United States further requests that the Clerk of the Court provide the United

States Attorney’s Office with three certified copies of this application and the Court’s Order upon

request, and provide copies of the Order to the Agency upon request.

       31.     The foregoing is based on information provided to me in my official capacity by

agents of the Agency.




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   I declare under penalty of perjury that the foregoing is true and correct.

   Executed on the ____ day of November, 2020.

                                          Respectfully submitted,

                                          Michael R. Sherwin
                                          Acting United States Attorney
                                          N.Y. Bar No. 4444188


                                          __/s/ Tejpal. S. Chawla________________
                                          Tejpal S. Chawla
                                          Assistant United States Attorney
                                          D.C. Bar Number 464012
                                          National Security Section
                                          555 4th Street, N.W.
                                          Washington, DC 20530
                                          202-252-7280
                                          tejpal.chawla@usdoj.gov




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                         PR No. 20-pr-302
 ORDER FOR ONE CELLULAR TELEPHONE
 SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                          Filed Under Seal
 U.S.C. 2339B

                                               ORDER

       Assistant United States Attorney Tejpal Chawla, on behalf of the United States, has

submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on cellular telephone number                  (hereinafter "Subject Phone Number"), and

believed to be used by one or more persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, in connection with possible violations of 18 U.S.C. § 2339B. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A, and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each communication to or from the Subject
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Phone Number, including the date, time, and duration of the communication, and the following,

without geographic limit:

              IP addresses associated with the cell phone device or devices used to send or receive
               electronic communications;

              Any unique identifiers associated with the cell phone device or devices used to
               make and receive calls with the Subject Phone Number, or to send or receive other
               electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
               MSISDN, or MIN;

              IP addresses of any websites or other servers to which the cell phone device or
               devices is/are connected; and

              Source and destination telephone numbers and email addresses.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

T-Mobile (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

       IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

       IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;


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         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the Subject Phone Numbers, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the Subject

Phone Number;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;

         IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

         IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).



                                              __________________________________________
                                              UNITED STATES MAGISTRATE JUDGE




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                                     ATTACHMENT A


Suspected Users of Accounts:

 User                       Number or identifier




Sub' ects of the Investigation
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR PRTT                         PR No. 20-pr-302
 ORDER FOR ONE CELLULAR TELEPHONE
 SERVICED BY T-MOBILE FOR
 INVESTIGATION OF VIOLATION OF 18                          Filed Under Seal
 U.S.C. 2339B

                                               ORDER

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submitted an application pursuant to 18 U.S.C. §§ 3122 and 3123, requesting that the Court issue

an Order authorizing the installation and use of pen registers and trap and trace devices ("pen-trap

devices") on cellular telephone number                  (hereinafter "Subject Phone Number"), and

believed to be used by one or more persons identified in Attachment A.

       THE COURT FINDS that an attorney for the government has submitted the application

and has certified that the information likely to be obtained by such installation and use is relevant

to an ongoing criminal investigation being conducted by the Federal Bureau of Investigation

(hereinafter "Agency") of the person(s) indicated in Attachment A, which is incorporated into this

Order by reference, in connection with possible violations of 18 U.S.C. § 2339B. The Court further

finds that a sufficient showing of good cause has been made for the continued sealing of

Attachment A, and for the government's withholding of Attachment A from service upon the

Service Provider, in order to help ensure the privacy of the person(s) identified therein and the

integrity of the government's investigation.

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 3123, that the Agency is

authorized to install and use pen-trap devices to record, decode, and/or capture dialing, routing,

addressing, and signaling information associated with each communication to or from the Subject
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Phone Number, including the date, time, and duration of the communication, and the following,

without geographic limit:

              IP addresses associated with the cell phone device or devices used to send or receive
               electronic communications;

              Any unique identifiers associated with the cell phone device or devices used to
               make and receive calls with the Subject Phone Number, or to send or receive other
               electronic communications, including the ESN, MEIN, IMSI, IMEI, SIM,
               MSISDN, or MIN;

              IP addresses of any websites or other servers to which the cell phone device or
               devices is/are connected; and

              Source and destination telephone numbers and email addresses.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(c)(1), that the use and

installation of the foregoing is authorized for sixty days from the date of this Order;

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. §§ 3123(b)(2) and 3124(a)-(b), that

T-Mobile (hereinafter “Service Provider”) and any other person or entity providing wire or

electronic communication service in the United States whose assistance may, pursuant to 18 U.S.C.

§ 3123(a), facilitate the execution of this Order shall, upon service of this Order, furnish

information, facilities, and technical assistance necessary to install the pen-trap devices, including

installation and operation of the pen-trap devices unobtrusively and with minimum disruption of

normal service;

       IT IS FURTHER ORDERED that Attachment A shall remain under seal even as to the

named Service Provider until further order of the Court, and therefore shall be withheld from

service upon the Service Provider;

       IT IS FURTHER ORDERED that the Agency reasonably compensate the Service Provider

and any other person or entity whose assistance facilitates execution of this Order for reasonable

expenses incurred in complying with this Order;


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         IT IS FURTHER ORDERED that the Service Provider and any other person or entity

whose assistance may facilitate execution of this Order, notify the applicant and the Agency of

any changes relating to the Subject Phone Numbers, including changes to subscriber information,

and to provide prior notice to the Agency before terminating or changing service to the Subject

Phone Number;

         IT IS FURTHER ORDERED that the Agency and the applicant are authorized to have

access to the information collected by the pen-trap devices as soon as practicable, twenty-four

hours per day, or at such other times as may be acceptable to the Agency, for the duration of the

Order;

         IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 3123(d)(2), that the Service Provider

and any other person or entity whose assistance facilitates execution of this Order, and their agents

and employees, shall not disclose in any manner, directly or indirectly, by any action or inaction,

the existence of the application and the Court’s Order, the pen-trap devices, or the investigation to

any person, unless and until otherwise ordered by the Court, except that the Service Provider may

disclose the Order to an attorney for the Service Provider for the purpose of receiving legal advice;

         IT IS FURTHER ORDERED that the Clerk of the Court shall provide the United States

Attorney’s Office with three certified copies of this application and Order upon request, and shall

provide copies of this Order to the Agency upon request;

         IT IS FURTHER ORDERED that the application and this Order are sealed until otherwise

ordered by the Court, pursuant to 18 U.S.C. § 3123(d)(1).

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                                  ATTACHMENT A


Suspected Users of Accounts:

 User                    Number or identifier
